Case 3:25-cr-05077-DGE Document17 _ Filed 03/26/25 Page1of4

Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington.

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lo Tatas, $ ian, Clerk
By, \ZtAa Deputy

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

UNITED STATES OF AMERICA,

Plaintiff
Vv.
JEFFREY FABIANI,
Defendant.

The Grand Jury charges that:

COUNT 1

no. CR25-5077 DGE

INDICTMENT

(Attempted Production of Child Pornography)

Between in or about 2023 and in or about 2024, in Pierce County, within the

Western District of Washington and elsewhere, JEFFREY FABIANI attempted to

employ, use, persuade, induce, entice, and coerce a minor to engage in any sexually

explicit conduct for the purpose of producing any visual depiction of such conduct and

for the purpose of transmitting a live visual depiction of such conduct, knowing and

having reason to know that such visual depiction will be transported and transmitted

using any means and facility of interstate and foreign commerce and in and affecting

Indictment - |
United States v. Fabiani
USAO No. 2025R00284

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
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Sa HD HF F&F WW NY |&§ CO CO Fx NH UH HP WO LV KH CO

Case 3:25-cr-05077-DGE Document17 _ Filed 03/26/25 Page 2of4

interstate and foreign commerce and mailed, such visual depiction was produced and
transmitted using materials that have been mailed, shipped, and transported in and
affecting interstate and foreign commerce by any means, including by computer, and
such visual depiction has actually been transported and transmitted using any means and
facility of interstate and foreign commerce and in and affecting interstate and foreign
commerce and mailed.

All in violation of Title 18, United States Code, Sections 2251(a) and 2251(e).

COUNT 2
(Possession of Child Pornography)

Between not later than in or about March 2022 and in or about March 2025, in
Pierce County, within the Western District of Washington, and elsewhere, JEFFREY
FABIANI knowingly possessed matter that contained any visual depiction, the
production of which involved the use of a minor engaging in sexually explicit conduct
and such visual depiction was of such conduct, that was mailed and shipped and
transported using any means and facility of interstate and foreign commerce and in and
affecting interstate and foreign commerce and that was produced using materials that had
been so mailed and shipped and transported by any means, including by computer, and
any visual depiction involved in the offense involved a prepubescent minor and a minor
who had not attained 12 years of age.

All in violation of Title 18, United States Code, Sections 2252(a)(4)(B) and
2252(b)(2).

FORFEITURE ALLEGATION

The allegations contained in Counts 1 and 2 of this Indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeiture. Upon
conviction of an offense alleged in Counts 1 and 2, JEFFREY FABIANI shall forfeit to
the United States, pursuant to Title 18, United States Code, Section 2253(a), all property

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United States v. Fabiani 700 STEWART STREET, SUITE 5220
USAO No. 2025R00284 SEATTLE, WASHINGTON 98101

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Case 3:25-cr-05077-DGE Document17 _ Filed 03/26/25 Page 3of4

used to commit or to facilitate commission of the offenses, any proceeds of the offense,
and any data files consisting of or containing visual depictions within the meaning of

Title 18, United States Code, Section 2253(a)(1).

Hf

Hf

if
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United States v. Fabiani 700 STEWART STREET, SUITE 5220
USAO No. 2025R00284 SEATTLE, WASHINGTON 98101

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Case 3:25-cr-05077-DGE Document17_ Filed 03/26/25 Page4of4

Substitute Assets. If any of the above-described forfeitable property, as a result of
2 || any act or omission of the defendant,
3 a. cannot be located upon the exercise of due diligence;
4 b. has been transferred or sold to, or deposited with, a third party;
5 C. has been placed beyond the jurisdiction of the Court:
6 d. has been substantially diminished in value; or,
7 a. has been commingled with other property which cannot be divided
8 without difficulty,
9 |/ it is the intent of the United States to seek the forfeiture of any other property of the
10 || defendant, up to the value of the above-described forfeitable property, pursuant to
11 || Title 21, United States Code, Section 853(p).
12
3 A TRUE BILL:
14 DATED: Q |Qu acahy
15

Signature of Foreperson redacted pursuant
16 to the policy of the Judicial Conference of
the United States.

FOREPERSON

Hl |
29M RALLUTHY MILLER
Acting United States Attorney

224
)TOS~) GREENBERG
Assistant United States Attorney

f
WA LDHEW P. HAMPTON
26 || Assistant United States Attorney

Indictment - 4 UNITED STATES ATTORNEY

United States v. Fabiani 700 STEWART STREET, SUITE 5220

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